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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                              CASE NO. 8:14-Cr-64-T-17TGW

 YOEL EMILIO BAEZ-HERNANDEZ

                                     /

                                           ORDER

       This matter comes before the Court pursuant to Defendant’s, Yoel Emilio Baez-

 Hernandez, Post Conviction Judgment of Acquittal and Motion for New Trial, (Doc. # 256),

 filed July 22, 2014, and the Government’s Response in Opposition, (Doc. # 273), filed

 August 5, 2014. For the reasons that follow, the Defendant’s Motion is DENIED.

                     BACKGROUND AND PROCEDURAL HISTORY

        On February 20, 2014, the Government filed a multi-count indictment that charged

 Defendant and various co-Defendants with a number of criminal acts.              (Doc. # 1).

 Specifically, Defendant was charged in Count 1 with knowingly bringing or attempting to

 bring more than 100 alien person into the United States at a place other than as

 designated by the Secretary of Homeland Security, in violation of 8 U.S.C. §

 1324(a)(1)(A)(i), 8 U.S.C. § 1324(a)(1)(A)(v)(l), and 8 U.S.C. § 1324(a)(1)(B)(i). On May

 15, 2014, the Government filed a superseding indictment, which, in addition to Count 1

 from the original Indictment, further charged Defendant in Count 3 with knowingly, and in

 reckless disregard that certain aliens had not received prior official authorization, bringing

 or attempting to bring 13 alien persons to the United States for commercial advantage

 and private financial gain. (Doc. #119). On May 28, 2014, the Court, sua sponte. filed
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 its Pretrial Discovery Order, outlining discovery obligations, which required completion of

 all matters contemplated in Rule 16 discovery by Monday, June 9, 2014. (Doc. # 153).

 The Pretrial Discovery Order also placed a continuing duty on both sides to “promptly

 disclose to the opposing side all newly-discovered material which is within the scope of

 the disclosure portions o f the Pretrial Discovery Order. (Doc. # 153).

       On Thursday, June 12, 2014—three days after the Rule 16 discovery deadline—

 the Government disclosed an additional disc containing the following:

           1) subpoena returns for a telephone number associated with the
              Defendant;
           2) subpoena returns for a different telephone number;
           3) D.A.V.I.D. Records FI. 7337 NH/Yareny Temprana;
           4) Subscriber information telephone numbers 941-286-1334 and
              941-815-4979;
           5) Forensics on a Garmin GPS;
           6) Eight photographs of the Defendant with the former mayor of
              Hialeah at the opening of a liquor store located in Hialeah; and
           7) 53 jails calls involving the Defendant in Spanish without
              translation or transcription.

 (Doc. # 256).   On June 16, 2014, Defendant moved to suppress electronic cell site

 location data, toll activity, and other “unconstitutionally obtained” evidence based on

 United States v. Davis—a recent case from the United States Court of Appeals for the

 Eleventh Circuit that held citizens have a privacy right to location information gathered

 from cellular towers, and the Stored Communications Act (“SCA”) unconstitutionally

 permitted government entities to obtain evidence in contravention of the Fourth

 Amendment. 754 F.3d 1205 (11th Cir. 2014), vacated and rehearing en banc granted

 September 4, 2014, 2014 WL 4358411. The Government responded in opposition, and

 argued the Davis court further analyzed the action under United States v. Leon, which

 precludes application of the exclusionary rule in an absence of showing bad faith. 468
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 U.S. 897 (1984). After hearing argument, the Court orally denied the motion, finding that

 in accord with Davis and Leon, there was no bad faith alleged on the part of the

 Government’s compliance with 18 U.S.C. § 2703(c) of the SCA.

        As late as June 19, 2014, the Government disclosed further matters contemplated

 under the Pretrial Discovery Order, including:

           1) Telephone records for a phone associated with Government
              witness and co-Defendant Edel Mesa-Hernandez that
              reflected 309 contacts with a telephone associated with
              Defendant during dates contained in Count 3;
           2) Iridium toll records without subscriber information not
              previously associated with Defendant; and
           3) Search warrant applications for the search of co-Defendant
              Carlos Velazquez’ home, application and orders for historical
              cell cite locations, and in-camera orders corresponding to
              relevant telephones.

 (Doc. #256). At the time of the latter disclosure on June 19, 2014, counsel for Defendant

 received the disclosure via his Blackberry mobile device as he was traveling to Key West

 to appear before the United States District Court for the Southern District of Florida in an

 unrelated, all-day hearing that concluded Friday, June 20, 2014, at 7:00 PM. (Doc. #

 256). After the hearing and on the next day Saturday, June 21, 2014, counsel for the

 Defendant reviewed the latter disclosures via his laptop computer. (Doc. # 256). After

 reviewing the latter disclosures, counsel for Defendant traveled to Tampa, Florida, on

 Sunday, June 22, 2014, to discuss the latest disclosures with the Defendant. (Doc. #

 256). At the meeting, Defendant authorized the filing of a motion to exclude the evidence

 or request a continuance due to the change in design of trial strategy and inability to

 resolve the “issues pertinent to the development of a sound trial strategy to account for

 the” latter disclosures. (Doc. # 256).
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       On June 23, 2014, counsel for Defendant argued his Motion in Limine to Exclude

 Evidence Provided in Violation of Rule 16 and Court’s Order. (Doc. # 202). In his Motion

 and at the hearing, counsel for Defendant argued that despite his “diligent review and

 examination of the voluminous discovery exhibits...the late and untimely disclosure of

 [the] telephonic contacts between [the] new number and the number associated with

 Defendant Baez completely changes the landscape of the defense case.” (Doc. # 202).

 Counsel further argued this late disclosure “impacted his ability to adequately prepare his

 defense, thus violating his substantial rights.” (Doc. # 202). Counsel concluded the late

 disclosure “substantially prejudiced his defense by attacking the very foundation of the

 defense strategy and [] impacted his ability to adequately prepare to meet the evidence,”

 but did not specify how the late disclosure particularly impacted either his defensive

 strategy or theory of the case. (Doc. # 202). The Government presented testimony from

 Special Agent Jennifer Silliman to discuss with and explain to the Court the reasons for

 the delayed discovery disclosures, including the continuing nature of the investigation,

 interviews with co-Defendants that disclosed additional information, and pending

 requests to various telecommunications companies.

       After hearing argument, the Court orally denied the motion, (Doc. # 210), as well

 as a motion to continue trial. (Doc. # 211). Instead, the Court concluded proceedings for

 the day before opening statements or presentation of evidence to the jury, afforded

 counsel for Defendant the opportunity to speak with Defendant at all breaks and after

 recessing for the day at 4:45 PM on Monday, June 23, 2014, as well as any time counsel

 for Defendant saw fit leading up to opening statements on Tuesday, June 24, 2014.
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       On Tuesday, June 24, 2014, the Court further inquired of counsel for Defendant

 with regard to his schedule and opportunities to meet with Defendant to discuss the latter

 disclosed evidence and any potential change in trial strategy as of June 19, 2014, and

 requested that counsel for Defendant file in the record a memorandum outlining this

 information. As of the date of this Order, counsel for Defendant has not filed any such

 memorandum.

       During trial, spanning from June 24, 2014, through July 2, 2014, with breaks for

 weekends and other court-related business, the jury heard testimony from a number of

 co-defendants and witnesses with respect to both Count 1 and Count 3. On June 29,

 2014, counsel for Defendant filed his Motion in Limine to Exclude Introduction of Evidence

 Contained in 1-213 Forms. (Doc. # 227). Seeking to preclude the introduction of 1-213

 forms, counsel for Defendant argued the information on the forms was hearsay and

 inherently unreliable, and violated the Defendant’s constitutional rights. (Docs. ## 227,

 256). Counsel further argued the forms lacked proper chain of custody authentication.

 (Docs. ## 227,256). Counsel finally argued the forms were testimonial in nature because

 law enforcement generated the information in connection with a criminal investigation.

 The Court denied Defendant’s motion and permitted the introduction of the 1-213 forms

 based on United States v. Rivera-Soto. 451 Fed.Appx. 806 (11th Cir. 2011), wherein the

 United States Court of Appeals for the Eleventh Circuit found 1-213 forms were “routinely

 and mechanically kept,” non-testimonial, and admissible under either Federal Rule of

 Evidence 803(6) or 803(8).

        On July 2, 2014, Defendant was found guilty as charged in both Counts 1 and 3,

 (Doc. # 241). Due to his schedule, the Court granted counsel for Defendant thirty (30)
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 days to file post-trial motions, including the subject motions. Defendant now moves this

 Court for a new trial based on prejudice resulting from the Government’s late discovery

 disclosures and violations of Rule 16; the Court’s failure to hold an evidentiary hearing

 with respect to the Defendant’s motion to suppress electronic cell site location data, toll

 activity, and other “unconstitutionally obtained” evidence; and the Court’s denial of

 Defendant’s motion in limine to exclude 1-213 forms. (Doc. # 256). Defendant further

 moves this Court for a Rule 29(c) acquittal based on a lack of evidence to sustain

 convictions on both Counts 1 and 3. (Doc. # 256). The Government opposes both

 requests, and asserts the Defendant is not entitled to a new trial, and the record evidence

 is sufficient to sustain the conviction. (Doc. #273).

                                       DISCUSSION

    1. Rule 33 Motion for New Trial

        Upon a Rule 33 motion, the Court “may vacate any judgment and grant a new trial

 if the interest of justice so requires.” Federal Rule of Criminal Procedure 33(a). The grant

 of a new trial is sparingly used, and only “where there would be a miscarriage of justice”

 and the “evidence preponderates heavily against the verdict.” United States v. Indelicato.

 611 F.2d 376 (1st Cir. 1979).

        A. Rule 16 Violations

        The Defendant first moves for a new trial on the basis that Rule 16 violations

 substantially prejudiced Defendant and precluded counsel from effectively trying and

 defending the case. The Government argues Rule 16 violations necessitate a new trial

 only when the disclosure results in undue surprise, substantially alters the very foundation

 of his defense, and a defendant is not afforded the opportunity to prepare a defense.
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 United States v. Camarao-Veraara. 57 F.3d 993, 998 (11th Cir. 1995); United States v.

 Noe. 821 F.2d 604, 607 (11th Cir. 1987).

        Counsel for Defendant has not provided the requisite showing that the late

 discovery disclosures substantially altered his defensive strategy.            The Court

 accommodated opportunities for counsel for Defendant to meet with his client and discuss

 the disclosed discovery in private. Further, the Court inquired as to how the disclosures

 either substantially or materially altered the defense for this case, and the counsel for

 Defendant was unable to provide details beyond the conclusory statements in his motions

 previously filed with the Court. See Camarao-Veraara. 57 F.3d at 998; see also United

 States, v. Zamor. 233 Fed.Appx. 976, 980 (11th Cir. 2007). As counsel for Defendant

 has failed to meet his burden, the Court cannot find a miscarriage of justice occurred, and

 Defendant is not entitled to a new trial.

        B.         Denial of Evidentiary Hearing on Defendant’s Motion to Suppress

        Defendant next moves for a new trial because the Court did not conduct an

 evidentiary hearing with respect to the suppression of cellular site location data, toll

 activity, and other “unconstitutionally obtained” evidence. Defendant asserts the Court

 was required to hold an evidentiary hearing to determine whether the Government acted

 in bad faith in obtaining the evidence. The Government opposes this contention, and

 insists an evidentiary hearing was not necessary under the law.

        Counsel for Defendant relied on United States v. Davis, which the United States

 Court of Appeals for the Eleventh Circuit recently vacated September 4, 2014. 2014 WL

 4358411. Even assuming, arguendo, the privacy rights enumerated in Davis still remain,

 the Defendant failed to meet his burden to require an evidentiary hearing. Evidentiary
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 hearings are not regularly granted, and “are held only when the defendant alleges

 sufficient facts which, if proven, would justify relief.” United States v. Smith. 546 F.2d

 1275 (5th Cir. 1977).    The factual allegations must be “sufficiently definite, specific,

 detailed, and nonconiectural. to enable the court to conclude that a substantial claim is

 presented.” United States v. Poe. 462 F.2d 195, 197 (5th Cir. 1972) (quoting Cohen v.

 United States. 378 F.2d 751, 761 (9th Cir. 1967) cert, denied. 389 U.S. 897 (1967))

 (emphasis added). In the Defendant’s original motion to suppress, (Doc. # 183), and

 supplemental memorandum, (Doc. # 214), while the Defendant described some factual

 discrepancies in the SCA application to Magistrate Judge Thomas Wilson, the Defendant

 failed to present any allegation beyond conjecture as to the sincerity or good-faith belief

 the Government held at the time of the SCA application. The Defendant contended an

 inference of bad faith due to a witness’ late identification of Defendant in one trip, and

 misidentification of Defendant in another trip. The Defendant did not, however, make a

 showing of when the Government determined, or should have determined, this

 information was false. See Dahl v. Hollev. 312 F.3d 1228,1235 (11th Cir. 2002). Absent

 that sufficiently pled information, the Court was not required to hold an evidentiary

 hearing, and ruled on the admissibility of the evidence based on Defendant’s motion to

 suppress, response in opposition, and supplemental memorandum.

       The Court previously ruled the Government’s actions in obtaining the evidence did

 not rise to the level of bad faith so as to require suppression of the evidence, and United

 States v. Leon allowed the evidence to survive suppression of evidence obtained through

 the SCA, as the Davis court similarly found. Because the evidence was not subject to

 suppression, there was no miscarriage of justice so as to require a new trial.
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        C. Admission o f 1-213 Forms

        Defendant finally requests a new trial based on the admission of 1-213 immigration

 forms during trial.   Defendant argues the 1-213 forms were inadmissible based on

 hearsay, the testimonial nature of the forms, and the Government’s failure to prove the

 unbroken chain of custody of the forms. (Doc. # 256). The Government opposes these

 arguments, and contends the forms were admissible.

       The Court previously addressed the Defendant’s arguments when the Court ruled

 the 1-213 immigration forms were admissible. In United States v. Rivera-Soto. the United

 States Court of Appeals for the Eleventh Circuit analyzed whether immigration records

 were admissible under public records exceptions and violated the Confrontation Clause.

 Rivera-Soto. 451 Fed.Appx. at 807.        While the Defendant argues the immigration

 documents were prepared for a criminal trial, the Court took testimony—and determined

 the witness was credible—that the 1-213 forms were recorded routinely for the purpose of

 tracking individuals that illegally enter the United States, and there was no testimony from

 any witness indicating the 1-213 forms submitted at trial were prepared in anticipation of

 a criminal trial. Absent this information, the United States Court of Appeals for the

 Eleventh Circuit plainly holds immigration documents are not testimonial in nature, do not

 violate the Confrontation Clause, and are admissible at trial under either Federal Rule of

 Evidence 803(6) or 803(8). ]d. at 807-808. The admission of this evidence did not cause

 a miscarriage of justice, and thus Defendant is not entitled to a new trial.

        Analyzing the Defendant’s arguments in the totality of the circumstances, the Court

 does not find a miscarriage of justice, nor does the evidence preponderate heavily against

 the verdict. Therefore, Defendant’s Rule 33 motion for new trial is DENIED.
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     2. Rule 29 Motion for Acquittal

         When considering a Rule 29 motion for acquittal, the Court must “view the

  evidence in the light most favorable to the government.” United States v. Sellers. 871

  F.2d 1019, 1020 (11th Cir. 1989) (citing Glasser v. United States. 315 U.S. 60 (1942)).

 The Court is required to “resolve any conflicts in the evidence in favor of the Government”

  and “accept all reasonable inferences that tend to support the government’s case.” U.S.

 v. Ward. 197 F.3d 1076 (11th Cir. 1999) (citing United States v. Tavlor. 972 F.2d 1247,

  1250 (11th Cir. 1992); United States v. Burns. 597 F.2d 939, 941 (5th Cir. 1979)). The

  Court must determine “whether a reasonable jury could have found the defendant guilty

  beyond a reasonable doubt.” ]d. “It is not necessary for the evidence to exclude every

  reasonable hypothesis of innocence or be wholly inconsistent with every conclusion

  except that of guilt, provided a reasonable trier of fact could find that the evidence

  establishes guilt beyond a reasonable doubt.” Sellers. 871 F.2d at 1021 (quoting United

  States v. Bell. 678 F.2d 547, 549 (5th Cir. Unit B 1982)).

         A. Sufficiency of the Evidence for Count 1

         Defendant first argues the evidence was insufficient to sustain a conviction for

  Count 1 of the superseding indictment. Specifically, Defendant argues the evidence

  demonstrated three separate conspiracies rather than a single conspiracy; that the jury’s

  determination that Defendant was responsible for less than 100 aliens; and the evidence

  in the 1-213 forms was insufficient to prove the aliens were from the charged conspiracy

  or entered a place other than as designated by the Secretary of Homeland Security. (Doc.

  # 256). The Government contends the evidence was adequate to sustain the conviction,

  and that it proved at trial Defendant’s guilt of facilitating the single conspiracy.
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         “To determine whether a jury could reasonably have found [the] evidence

  established a single conspiracy beyond a reasonable doubt, [a court] must consider: (1)

 whether a common goal existed; (2) the nature of the underlying scheme; and (3) the

  overlap of participants.” United States v. Huff. 609 F.3d 1240, 1243 (11th Cir. 2010)

  (quoting United States v. Richardson. 532 F.3d 1279, 1284 (11th Cir. 2008)).       The

  analysis further requires the Government to prove interdependence amongst co­

  conspirators. United States v. Seher. 562 F.3d 1344, 1366 (11th Cir. 2009). The Seher

  court explained:

               The existence of separate transactions does not have to imply
               separate conspiracies if the co-conspirators acted in concert
               to further a common goal. Courts typically define the common
               goal element as broadly as possible, with “common” being
               defined as “similar” or “substantially the same.”        If a
               defendant’s actions facilitated the endeavors of other co­
               conspirators, or facilitated the venture as a whole, then a
               single conspiracy is shown. Each co-conspirator does not
               have to be involved in every part of the conspiracy.

 id. The Huff court contrasted and compared “hub-and-spoke” conspiracies with “rimless

 wheel” and other forms of conspiracies:

               A “hub-and-spoke” conspiracy occurs where “a central core of
               conspirators recruits separate groups of co-conspirators to
               carry out the various functions of the illegal enterprise.” “The
               core conspirators move from spoke to spoke, directing the
               functions of the conspiracy.” Where only one conspirator
               moves from spoke to spoke, however, the conspiracy is
               analogous to a “rimless wheel,” with nothing connecting the
               separate spokes into a single conspiracy. “Thus, where the
               ‘spokes’ of a conspiracy have no knowledge of or connection
               with any other, dealing independently with the hub
               conspirator, there is not a single conspiracy, but rather as
               many conspiracies as there are spokes.” Where “the various
               spokes are aware of each other and of their common aim,”
               however, there is a single conspiracy.

  Huff. 609 F.3d at 1243-1244 (internal citations omitted).
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        The Court finds the Government presented sufficient evidence at trial to permit a

  reasonable juror to conclude the Defendant was involved in a single conspiracy with

  multiple co-conspiractors.   Here, Defendant’s argument is akin to the “rimless wheel”

  conspiracy, where rather than one overreaching conspiracy with common goals, three

  independent “spokes” existed without any interdependence. The evidence, however,

  sufficiently established the former “hub and spoke” conspiracies, where the Defendant’s

  participation in and facilitation of the smuggling established a single conspiracy.

  Defendant and his co-conspirators engaged in a common goal of smuggling aliens from

  Cuba for pecuniary gain, and Defendant directly benefited from the proceeds derived from

  the smuggling operations over a vast period of time.        The trips (or scheme) were

  substantially similar in nature—the conspirators would leave Port Charlotte, telephone a

  co-conspirator in Cuba with approximations of arrival, retrieve a number of aliens from a

  beach located close to Pinar del Rio, Cuba, and return to Port Charlotte. While Defendant

  may not have been present on each trip, his boat was often used on the trips, satisfying

  the facilitation and interdependence requirements. Unlike in United States v. Chandler.

  388 F.3d 796 (11th Cir. 2004) and Kotteakos v. United States. 328 U.S. 750 (1946),

  Defendant was aware of the other co-conspirators and the overall nature of the scheme.

  Accordingly, the evidence submitted at trial—through both forensic evidence and co­

  conspirator testimony—was sufficient to establish a single conspiracy.

        With respect to the jury’s determination that Defendant participated in a conspiracy

  to transport less than the charged amount of 100 or more aliens, a jury’s determination to

  convict a Defendant of a lesser-included offense does not negate the verdict in a

  conspiracy case; the jury was instructed on and determined the Defendant participated in
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 the single conspiracy after February 20, 2009. Finally, regarding the 1-213 forms and the

  connections to the conspiracy, the Government presented sufficient evidence—albeit

  circumstantial evidence—that a reasonable trier of fact could conclude the Defendant was

  guilty of the crime. The biographical information on the 1-213 forms overwhelmingly

  related to individuals from Pinar del Rio, Cuba; the dates were closely related if not

  identical to the dates of the trips alleged in the single conspiracy; and the Government

  presented evidence that the aliens on the 1-213 forms were deported because they

  admitted to staged landings in violation of federal law.       Accordingly, the evidence

  presented at trial was sufficient, and the Defendant’s Rule 29 motion for new trial for

  Count 1 is DENIED.

        B. Sufficiency o f the Evidence for Count 3

         Defendant argues the only evidence presented to prove Count 3 was the testimony

  of co-defendants and co-conspirators Carlos Velazquez Roman and Edel Mesa

  Hernandez, and that the testimony was replete with inconsistencies. (Doc. # 256). The

  Government strongly disagrees with this characterization, and offers the following

  additional proof submitted at trial: 1) satellite phone geographic location information that

  purportedly showed a trip to and from Cuba during the charged dates; 2) 1-213 forms that

  related to the dates of the transportation event; 3) 1-213 form for the Defendant’s aunt,

  identified by co-defendant testimony at trial; 4) phone calls allegedly proving Defendant’s

  absence during the period of time charged in Count 3; and 5) the use of a satellite phone

  during the period of time charged in Count 3. (Doc. # 273).

        The Government’s recount of the supplementary evidence—all submitted for the

  jury to deliberate on both Counts 1 and 3, in addition to the general testimony that all
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  smuggled aliens paid monies for the trips—was sufficient for a trier of fact to find the

  Defendant guilty of Count 3. Accordingly, it is

        ORDERED that Defendant’s Rule 33 Motion for New Trial and Rule 29 Motion for

  Acquittal are DENIED.

        DONE and ORDERED, in Chambers, in Tampa, Florida, this               / & <Say~ of
  September, 2014.
